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UN|TED STATES OF AN|ER|CA '~'v" !5`1'-

Plaintiff
VS.
CR. NO. 04-20474-D
WALTER VOVVELL
Defendant.

 

ORDER ON CONT|NUANCE /-\ND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY

AND SETT|NG

 

This cause came on for a report date on l\/lay19, 2005. At that time, counsel forthe

defendant requested a continuance of the June 6, 2005 trial date in order to allow for

additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 With
a report date of Thursda)[l August 25, 2005, at 9:00 a.m., in Courtroom 3. ch F|oor of

the Federa| Building, lV|emphis, TN.

The period from June 17, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a speedy trial.

n is so oRDERED this@?@ day of May, 2005.

 
     

'B RN|CE B. D NALD
|TED STATES DlSTR|CT JUDGE

on the docket sheet in compliance

This document entered 5. 2 "OS‘

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This notice confirms a copy of the document docketed as number 41 in
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May 24, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

